 Case: 1:17-cv-08291 Document #: 115 Filed: 03/13/19 Page 1 of 1 PageID #:743

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Deisy Jaimes, et al.
                                Plaintiff,
v.                                                     Case No.: 1:17−cv−08291
                                                       Honorable Jorge L. Alonso
Cook County, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 13, 2019:


        MINUTE entry before the Honorable Sidney I. Schenkier: Status and motion
hearings held. The parties report on the status of discovery. For the reasons stated on the
record, plaintiffs' motion to compel compliance with court order and second motion to
compel discovery (doc. #[111]) is granted in part and denied in part. The motion is denied
without prejudice as to Request for Production #18. By no later than 3/22/19, defense
counsel is to provide plaintiffs' counsel with information that identifies which of the
complaints identified on the summary provided by the defense involve complaints by
persons outside the institution or by staff within the institution. By no later than 3/29/19,
plaintiffs' counsel shall identify any files from those complaints that plaintiffs seek to have
produced. The parties shall meet and confer to attempt to resolve any disagreements they
may have about any such request. The motion is granted with respect to Request for
Production # 9. Defense counsel is to produce the insurance policies to plaintiffs' counsel
by no later than 4/03/19. If the defendants seek to produce limited portions of the policies,
they shall meet and confer with the plaintiffs about that subject. The matter is set for a
status hearing before the magistrate judge on 4/03/19 at 9:00 a.m. Mailed notice. (jj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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